                Case 1:21-cr-00352-JEB Document 48 Filed 03/09/23 Page 1 of 2




 1
 2
 3
 4
                                   UNITED STATES DISTRICT COURT
 5
                                   FOR THE DISTRICT OF COLUMBIA
 6
 7   UNITED STATES OF AMERICA,                     )   No. CR21-352 (JEB)
                                                   )
 8                    Plaintiff,                   )
                                                   )   MOTION TO WITHDRAW AS
 9               v.                                )   COUNSEL AND FOR APPOINTMENT
                                                   )   OF NEW COUNSEL AND
10   MARC BRU,                                     )   SUPPORTING MEMORANDUM OF
                                                   )   LAW
11                    Defendant.                   )
                                                   )
12
     I.       MOTION
13
              Gregory Geist respectfully moves to withdraw as counsel for Marc Bru and for
14
     appointment of new counsel from the Criminal Justice Act panel. Mr. Bru requested
15
     undersigned counsel to withdraw, due to a breakdown in the relationship, and that new
16
     counsel be appointed. Undersigned counsel concurs in Mr. Bru’s desire given the
17
     breakdown in the relationship. Counsel consulted with the Federal Public Defender
18
     Office for the District of Columbia and, in the event the instant motion is granted, the
19
     FPD will appoint new counsel. Counsel discussed this motion with Mr. Bru, and a copy
20
     of the instant motion will be served on Mr. Bru pursuant to the local rules.
21
     II.      MEMORANDUM OF LAW IN SUPPORT OF MOTION
22
              “An attorney who enters an appearance shall continue to represent the defendant
23
     until the case is dismissed, the defendant is acquitted, or the time for filing post-trial
24
     motions and a notice of appeal has expired, unless the attorney is granted leave to
25
     withdraw by the Court.” LCrR 44.5(c). Pursuant to 18 U.S.C. § 3006(A)(c), “[t]he
26

                                                                       FEDERAL PUBLIC DEFENDER
          MOTION TO WITHDRAW AS COUNSEL AND FOR                           1601 Fifth Avenue, Suite 700
          APPOINTMENT OF NEW COUNSEL                                        Seattle, Washington 98101
          United States v. Bru, CR21-353 (JEB) - 1                                     (206) 553-1100
              Case 1:21-cr-00352-JEB Document 48 Filed 03/09/23 Page 2 of 2




 1   United States Magistrate or the court may, in the interests of justice, substitute one
 2   appointed counsel for another at any stage of the proceedings.”
 3   III.   CONCLUSION
 4          For the foregoing reasons, counsel respectfully requests that this Court grant
 5   Mr. Bru’s motion to withdraw and assign new counsel to represent Mr. Bru in any and
 6   all further proceedings.
 7          Respectfully submitted this 9th day of March 2023.
 8                                              s/ Gregory Geist
                                                Assistant Federal Public Defender
 9
                                                Attorney for Marc Bru
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                                                     FEDERAL PUBLIC DEFENDER
       MOTION TO WITHDRAW AS COUNSEL AND FOR                            1601 Fifth Avenue, Suite 700
       APPOINTMENT OF NEW COUNSEL                                         Seattle, Washington 98101
       United States v. Bru, CR21-353 (JEB) - 2                                      (206) 553-1100
